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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                                   Case No. 23-CR-00118 (AT)
        v.
                                                               DECLARATION OF
                                                          NATASHA M. ERTZBISCHOFF
 HO WAN KWOK, et al.,
                                                          IN SUPPORT OF MOTION FOR
                          Defendants.                      ADMISSION PRO HAC VICE

                                                                       ECF CASE



       I, NATASHA M. ERTZBISCHOFF, hereby declare as follows:

       1.       I am an associate with the firm of Brown Rudnick LLP.

       2.       I submit this declaration in support of my Motion for Admission Pro Hac Vice in

the above-captioned matter.

       3.       As shown in the Certificate of Good Standing attached hereto, I am a member in

good standing of the bar of the state of New York.

       4.       I have never been convicted of a felony, never been censured, suspended, disbarred,

or denied admission or readmission by any court, and there are no pending disciplinary

proceedings presently against me in any court.

       5.       I respectfully request to be permitted to appear as counsel pro hac vice in this case

for Defendant Ho Wan Kwok.

       I declare under penalty of perjury that the foregoing statements are true and correct based

on my personal knowledge.

       Executed this 1st day of June, 2023.


                                                       /s/ Natasha M. Ertzbischoff

                                                      NATASHA M. ERTZBISCHOFF
